 Case 3:11-cr-00359-L             Document 45    Filed 05/02/12       Page 1 of 2      PageID 96



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §   CASE NO: 3:11-CR-359-L
                                                  §
JUAN CARLOS FAVELA (01)                           §

                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
                         CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of Defendant, and the Report and Recommendation Concerning Plea of Guilty

of the United States Magistrate Judge (“Report”), and no objections thereto having been filed within

ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be accepted.

Based upon the Report of the Magistrate Judge, the court finds that Defendant is fully competent and

capable of entering an informed plea, that he is aware of the nature of the charge and the

consequences of the plea, and that his plea of guilty is a knowing and voluntary plea, supported by

an independent basis in fact, containing each of the essential elements of the offense. Accordingly,

the court accepts the plea of guilty entered by Defendant Juan Carlos Favela on April 17, 2012, and

he is hereby adjudged guilty of the offense charged in Count One of the Indictment, which is a

violation of 18 U.S.C. § 1546(a) and 18 U.S.C. § 2, namely, Fraud and Misuse of Visas, Permits, and

Other Documents, and Aiding and Abetting. Sentence will be imposed in accordance with the court’s

scheduling order.



Order Accepting Report – Page 1
 Case 3:11-cr-00359-L             Document 45   Filed 05/02/12    Page 2 of 2   PageID 97



        It is so ordered this 2nd day of May, 2012.




                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




Order Accepting Report – Page 2
